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NYS Department of State

Division of Corporations


Entity Information
The information contained in this database is current through June 5, 2019.

                               Selected Entity Name: YMB ENTERPRISES INC.
                                       Selected Entity Status Information
                      Current Entity Name:      YMB ENTERPRISES INC.
                             DOS ID #:          2550667
                     Initial DOS Filing Date:   SEPTEMBER 08, 2000
                              County:           KINGS
                           Jurisdiction:        NEW YORK
                            Entity Type:        DOMESTIC BUSINESS CORPORATION
                      Current Entity Status:    ACTIVE

                                      Selected Entity Address Information
         DOS Process (Address to which DOS will mail process if accepted on behalf of the entity)
         YMB ENTERPRISES INC.
         199 LEE AVENUE SUITE #565
         BROOKLYN, NEW YORK, 11211
                                            Chief Executive Officer
         JOEL MENDLOVIC
         282 WALLABOUT ST
         1-B
         BROOKLYN, NEW YORK, 11206
                                          Principal Executive Office
         YMB ENTERPRISES INC.
         199 LEE AVE STE 565
         BROOKLYN, NEW YORK, 11211
                                                Registered Agent
         NONE
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                            This office does not record information regarding the
                               names and addresses of officers, shareholders or
                             directors of nonprofessional corporations except the
                             chief executive officer, if provided, which would be
                          listed above. Professional corporations must include the
                          name(s) and address(es) of the initial officers, directors,
                                  and shareholders in the initial certificate of
                          incorporation, however this information is not recorded
                                 and only available by viewing the certificate.

                                            * Stock Information

                              # of Shares Type of Stock $ Value per Share
                              200          No Par Value

                     *Stock information is applicable to domestic business corporations.

                                               Name History

                           Filing Date Name Type               Entity Name
                          SEP 08, 2000 Actual          YMB ENTERPRISES INC.

A Fictitious name must be used when the Actual name of a foreign entity is unavailable for use in New York
 State. The entity must use the fictitious name when conducting its activities or business in New York State.

               NOTE: New York State does not issue organizational identification numbers.

                                        Search Results New Search

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